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Attorneys for Plaintiff
Celgene Corporation

                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


CELGENE CORPORATION,
                                                       Civil Action No. ________________
                          Plaintiff,
                                                       COMPLAINT FOR
       v.                                              PATENT INFRINGEMENT
HETERO LABS LIMITED, HETERO
                                                       (Filed Electronically)
LABS LIMITED UNIT-V, HETERO
DRUGS LIMITED, and HETERO USA,
INC.,

                          Defendants.


       Plaintiff Celgene Corporation (“Celgene”), by its undersigned attorneys, for its

Complaint against defendants Hetero Labs Limited (“Hetero Labs”), Hetero Labs Limited

Unit-V (“Hetero Unit-V”), Hetero Drugs Limited (“Hetero Drugs”), and Hetero USA, Inc.

(“Hetero USA”) (Hetero Labs, Hetero Unit-V, Hetero Drugs, and Hetero USA, together, “Hetero”

or “Defendants”), alleges as follows:

                                        Nature of the Action

         1.      This is an action for patent infringement under the patent laws of the United

 States, 35 U.S.C. §100, et seq., arising from Hetero’s filing of Abbreviated New Drug

 Application (“ANDA”), No. 210236 (“Hetero’s ANDA”), with the United States Food and
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 Drug Administration (“FDA”) seeking approval to commercially market generic versions of

 Celgene’s 1 mg, 2 mg, 3 mg, and 4 mg POMALYST® drug products (“Hetero’s ANDA

 Products”) prior to the expiration of United States Patent Nos. 10,093,647 (the “’647 patent”),

 10,093,648 (the “’648 patent”), and 10,093,649 (the “’649 patent”) (collectively, “the patents-

 in-suit”) owned by Celgene.

                                          The Parties

       2.        Plaintiff Celgene is a biopharmaceutical company committed to improving the

lives of patients worldwide. Celgene focuses on, and invests heavily in, the discovery and

development of products for the treatment of severe and life-threatening conditions. Celgene is a

world leader in the treatment of many such diseases, including cancer. Celgene is a corporation

organized and existing under the laws of the State of Delaware, having a principal place of

business at 86 Morris Avenue, Summit, New Jersey 07901.

       3.        On information and belief, Defendant Hetero Labs Limited is a corporation

organized and existing under the laws of India, having a principal place of business at 7-2-A2,

Hetero Corporate Industrial Estates, Sanath Nagar, Hyderabad - 500018, Telangana, India.

       4.        On information and belief, Defendant Hetero Labs Limited Unit-V is a

corporation organized and existing under the laws of India, having a principal place of business

at Polepally, Jadcherla, Mahabubnagar - 509301, Andhra Pradesh, India.

       5.        On information and belief, Hetero Unit-V is a division of Hetero Labs.

       6.        On information and belief, Defendant Hetero Drugs Limited is a corporation

organized and existing under the laws of India, having a principal place of business at 7-2-A2,

Hetero Corporate Industrial Estates, Sanath Nagar, Hyderabad - 500018, Telangana, India.




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       7.       On information and belief, Defendant Hetero USA, Inc. is a corporation

organized and existing under the laws of the State of Delaware, having a principal place of

business at 1035 Centennial Avenue, Piscataway, NJ 08854.

       8.       On information and belief, Hetero Labs is the parent corporation of Hetero

USA.

       9.       On information and belief, Hetero USA is the U.S. regulatory agent of Hetero

Unit-V with respect to ANDA No. 210236.

                                      The Patents-in-Suit

       10.      On October 9, 2018, the United States Patent and Trademark Office (“USPTO”)

duly and lawfully issued the ’647 patent, entitled, “Crystalline 4-amino-2-(2,6-dioxopiperidine-

3-yl)isoindoline-1,3-dione dihydrate, compositions and methods of use thereof,” to Celgene as

assignee of the inventor Jerry Lee Atwood. A copy of the ’647 patent is attached hereto as

Exhibit A.

       11.      On October 9, 2018, the USPTO duly and lawfully issued the ’648 patent,

entitled, “Crystalline 4-amino-2-(2,6-dioxopiperidine-3-yl)isoindoline-1,3-dione hemihydrate,

compositions and methods of use thereof,” to Celgene as assignee of the inventor Jerry Lee

Atwood. A copy of the ’648 patent is attached hereto as Exhibit B.

       12.      On October 9, 2018, the USPTO duly and lawfully issued the ’649 patent,

entitled, “Crystalline 4-amino-2-(2,6-dioxopiperidine-3-yl)isoindoline-1,3-dione monohydrate,

compositions and methods of use thereof,” to Celgene as assignee of the inventor Jerry Lee

Atwood. A copy of the ’649 patent is attached hereto as Exhibit C.

                                 The Pomalyst® Drug Product

       13.      Celgene holds an approved New Drug Application (“NDA”) under Section

505(a) of the Federal Food Drug and Cosmetic Act (“FFDCA”), 21 U.S.C. § 355(a), for


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pomalidomide capsules (NDA No. 204026), which it sells under the trade name POMALYST®.

POMALYST® is an FDA-approved medication used for the treatment of multiple myeloma.

       14.       The claims of the patents-in-suit cover, inter alia, solid forms of pomalidomide.

                                      Jurisdiction and Venue

       15.       This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §§ 1331, 1338(a), 2201, and 2202.

       16.       This Court has personal jurisdiction over Hetero USA by virtue of, inter alia, its

systematic and continuous contacts with the State of New Jersey. On information and belief,

Hetero USA’s principal place of business is in Piscataway, New Jersey. On information and

belief, Hetero USA is registered with the State of New Jersey’s Division of Revenue and

Enterprise Services as a business operating in New Jersey under Business Id. No. 0400362826.

On information and belief, Hetero USA is registered with the State of New Jersey’s Department

of Health as a drug wholesaler under Registration No. 5004050. On information and belief,

Hetero USA purposefully has conducted and continues to conduct business in this Judicial

District. By virtue of its physical presence in New Jersey, this Court has personal jurisdiction

over Hetero USA.

       17.       On information and belief, Hetero USA is in the business of, among other

things, manufacturing, marketing, importing, offering for sale, and selling pharmaceutical

products, including generic drug products, throughout the United States, including in this

Judicial District. On information and belief, this Judicial District will be a destination for the

generic drug products described in Hetero’s ANDA. On information and belief, Hetero USA

also prepares and/or aids in the preparation and submission of ANDAs to the FDA.

       18.       This Court has personal jurisdiction over Hetero Labs, Hetero Drugs, and

Hetero Unit-V because, inter alia, they: (1) have purposefully availed themselves of the privilege


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of doing business in New Jersey, including directly or indirectly through their subsidiary, agent,

and/or alter ego, Hetero USA, a company with its principal place of business in New Jersey; and

(2) maintain extensive and systematic contacts with the State of New Jersey, including the

marketing, distribution, and/or sale of generic pharmaceutical drugs in New Jersey including

through, directly or indirectly, Hetero USA.

        19.          This Court has personal jurisdiction over Hetero because, inter alia, it has

committed an act of patent infringement under 35 U.S.C. § 271(e)(2), and has sent notice of that

infringement to Celgene in the State of New Jersey. On information and belief, Hetero intends a

future course of conduct that includes acts of patent infringement in New Jersey. These acts

have led and will continue to lead to foreseeable harm and injury to Celgene in New Jersey and

in this Judicial District.

        20.          On information and belief, Hetero USA, Hetero Labs, Hetero Unit-V, and

Hetero Drugs work in concert either directly or indirectly through one or more of their wholly

owned subsidiaries with respect to the regulatory approval, manufacturing, marketing, sale, and

distribution of generic pharmaceutical products throughout the United States, including in this

Judicial District.

        21.          On information and belief, Hetero USA acts at the direction, and for the benefit,

of Hetero Labs, Hetero Unit-V, and Hetero Drugs, and is controlled and/or dominated by Hetero

Labs, Hetero Unit-V, and Hetero Drugs.

        22.          On information and belief, Hetero USA has a regular and established, physical

place of business in New Jersey.




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       23.       On information and belief, Hetero Drugs, Hetero Labs, Hetero Unit-V, and

Hetero USA operate as a single integrated business. On information and belief, Hetero Drugs

and Hetero Labs share common corporate directors.

       24.       On information and belief, Hetero USA, Hetero Labs, Hetero Unit-V, and

Hetero Drugs have all previously been sued in this Judicial District and have not challenged

personal jurisdiction. See, e.g., Celgene Corporation v. Hetero Labs Limited, et al., Civil Action

No. 18-14111 (ES)(MAH) (D.N.J.) (Hetero USA, Hetero Labs, Hetero Unit-V, and Hetero

Drugs); Celgene Corporation v. Hetero Labs Limited, et al., Civil Action No. 17-3387

(ES)(MAH) (D.N.J.) (Hetero USA, Hetero Labs, Hetero Unit-V, and Hetero Drugs); Otsuka

Pharm. Co., Ltd. v. Hetero Drugs Ltd., et al., Civil Action No. 15-161 (JBS)(KMW) (D.N.J.)

(Hetero USA, Hetero Labs, Hetero Drugs); AstraZeneca AB, et al. v. Hetero USA Inc., et al.,

Civil Action No. 16-2442 (MLC)(TJB) (D.N.J.) (Hetero USA and Hetero Labs); and BTG Int’l

Ltd., et al. v. Actavis Labs. FL, Inc., et al., Civil Action No. 15-5909 (KM)(JBC) (D.N.J.)

(Hetero USA, Hetero Labs, Hetero Unit-V).

       25.       On information and belief, Hetero USA, Hetero Labs, Hetero Unit-V, and

Hetero Drugs have all previously been sued in this Judicial District and have not challenged

venue. See, e.g., Celgene Corporation v. Hetero Labs Limited, et al., Civil Action No. 18-14111

(ES)(MAH) (D.N.J.) (Hetero USA, Hetero Labs, Hetero Unit-V, and Hetero Drugs); Celgene

Corporation v. Hetero Labs Limited, et al., Civil Action No. 17-3387 (ES)(MAH) (D.N.J.)

(Hetero USA, Hetero Labs, Hetero Unit-V, and Hetero Drugs).

       26.       Venue is proper in this Judicial District pursuant to 28 U.S.C. §§ 1391 and/or

1400(b).




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                                  Acts Giving Rise To This Suit

        27.      Pursuant to Section 505 of the FFDCA, Hetero filed Hetero’s ANDA seeking

approval to engage in the commercial manufacture, use, offer for sale, sale, or importation into

the United States of pomalidomide capsules 1 mg, 2 mg, 3 mg, and 4 mg, before the patents-in-

suit expire.

        28.      On information and belief, following FDA approval of Hetero’s ANDA, Hetero

will make, use, offer for sale, or sell Hetero’s ANDA Products throughout the United States, or

import such generic products into the United States.

        29.      On information and belief, in connection with the filing of its ANDA as

described above, Hetero provided written certifications to the FDA pursuant to Section 505 of

the FFDCA, 21 U.S.C. § 355(j)(2)(A)(vii)(IV) (“Hetero’s Paragraph IV Certifications”),

alleging, inter alia, that the claims of United States Patent Nos. 6,315,720 (“’720 patent”),

6,561,977 (“’977 patent”), 6,755,784 (“’784 patent”), 8,198,262 (“’262 patent”),

8,626,531(“’531 patent”), 8,315,886 (“’886 patent”), 8,673,939 (“’939 patent”), 8,735,428

(“’428 patent”), 8,828,427 (“’427 patent”), and 9,993,467 (“’467 patent”) are invalid,

unenforceable, and/or will not be infringed by the activities described in Hetero’s ANDA.

        30.      No earlier than March 29, 2017, Hetero sent written notice of its first Paragraph

IV Certification to Celgene (“Hetero’s First Notice Letter”). Hetero’s First Notice Letter

alleged, inter alia, that the claims of the ’720, ’977, ’784, ’531, ’886, ’262, ’939, ’428, and

’427 patents are invalid and/or will not be infringed by the activities described in Hetero’s

ANDA. Hetero’s First Notice Letter also informed Celgene that Hetero seeks approval to market

Hetero’s ANDA Products before the expiration of the ’720, ’977, ’784, ’531, ’886, ’262, ’939,

’428, and ’427 patents. Hetero specifically directed Hetero’s First Notice Letter to Celgene’s

headquarters in Summit, New Jersey, in this Judicial District.


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        31.       No earlier than August 7, 2018, Hetero sent written notice of its second

Paragraph IV Certification to Celgene (“Hetero’s Second Notice Letter”). Hetero’s Second

Notice Letter alleged that the claims of the ’467 patent are invalid and/or will not be infringed by

the activities described in Hetero’s ANDA. Hetero’s Second Notice Letter also informed

Celgene that Hetero seeks approval to market Hetero’s ANDA Products before the ’467 patent

expires. Hetero specifically directed Hetero’s Second Notice Letter to Celgene’s headquarters in

Summit, New Jersey, in this Judicial District.

        32.       In light of Hetero’s filing of its ANDA, and the USPTO’s issuance of the

patents-in-suit, Celgene sent a letter to counsel for Hetero dated November 20, 2018, in which

Celgene informed counsel for Hetero that, on information and belief, the products proposed in

ANDA No. 210236 will likely infringe one or more claims of the patents-in-suit. To the extent

that Hetero disagreed, Celgene requested that Hetero provide samples of its ANDA Products, the

active pharmaceutical ingredient used to make those ANDA Products, and additional

documentation concerning the representativeness of the requested samples, as well as all safety,

storage, and handling information that Hetero deems appropriate for its samples, by December

20, 2018. Hetero did not respond to Celgene’s November 20, 2018 letter.

                            Count I: Infringement of the ’647 Patent

        33.       Celgene repeats and realleges the allegations of the preceding paragraphs as if

fully set forth herein.

        34.       On information and belief, Hetero’s ANDA Products contain crystalline

pomalidomide as set forth in the claims of the ’647 patent.

        35.       Hetero, by the submission of its Paragraph IV Certifications as part of its

ANDA to the FDA, has indicated that it seeks approval to engage in the commercial




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manufacture, use, offer for sale, sale, or importation into the United States of Hetero’s ANDA

Products, prior to the expiration of the ’647 patent.

       36.       Hetero’s ANDA has been pending before the FDA since at least March 29,

2017, the date that Hetero sent Hetero’s First Notice Letter to Celgene.

       37.       Hetero’s submission of its ANDA to engage in the commercial manufacture,

use, offer for sale, sale, or importation into the United States of Hetero’s ANDA Products, prior

to the expiration of the ’647 patent, constitutes infringement of one or more of the claims of that

patent under 35 U.S.C. § 271(e)(2)(A).

       38.       There is a justiciable controversy between Celgene and Hetero as to the

infringement of the ’647 patent.

       39.       Unless enjoined by this Court, upon FDA approval of Hetero’s ANDA, Hetero

will infringe one or more claims of the ’647 patent under 35 U.S.C. § 271(a) by making, using,

offering to sell, selling, and/or importing Hetero’s ANDA Products in the United States.

       40.       Unless enjoined by this Court, upon FDA approval of Hetero’s ANDA, Hetero

will induce infringement of one or more claims of the ’647 patent under 35 U.S.C. § 271(b) by

making, using, offering to sell, selling, and/or importing Hetero’s ANDA Products in the United

States. On information and belief, upon FDA approval of Hetero’s ANDA, Hetero will

intentionally encourage acts of direct infringement with knowledge of the ’647 patent and

knowledge that its acts are encouraging infringement.

       41.       Unless enjoined by this Court, upon FDA approval of Hetero’s ANDA, Hetero

will contributorily infringe one or more claims of the ’647 patent under 35 U.S.C. § 271(c) by

making, using, offering to sell, selling, and/or importing Hetero’s ANDA Products in the United

States. On information and belief, Hetero has had and continues to have knowledge that




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Hetero’s ANDA Products are especially adapted for a use that infringes one or more claims of

the ’647 patent and that there is no substantial non-infringing use for Hetero’s ANDA Products.

        42.       Celgene will be substantially and irreparably damaged and harmed if Hetero’s

infringement of the ’647 patent is not enjoined.

        43.       Celgene does not have an adequate remedy at law.

        44.       This case is an exceptional one, and Celgene is entitled to an award of its

reasonable attorneys’ fees under 35 U.S.C. § 285.

                           Count II: Infringement of the ’648 Patent

        45.       Celgene repeats and realleges the allegations of the preceding paragraphs as if

fully set forth herein.

        46.       On information and belief, Hetero’s ANDA Products contain crystalline

pomalidomide as set forth in the claims of the ’648 patent.

        47.       Hetero, by the submission of its Paragraph IV Certifications as part of its

ANDA to the FDA, has indicated that it seeks approval to engage in the commercial

manufacture, use, offer for sale, sale, or importation into the United States of Hetero’s ANDA

Products, prior to the expiration of the ’648 patent.

        48.       Hetero’s ANDA has been pending before the FDA since at least March 29,

2017, the date that Hetero sent Hetero’s First Notice Letter to Celgene.

        49.       Hetero’s submission of its ANDA to engage in the commercial manufacture,

use, offer for sale, sale, or importation into the United States of Hetero’s ANDA Products, prior

to the expiration of the ’648 patent, constitutes infringement of one or more of the claims of that

patent under 35 U.S.C. § 271(e)(2)(A).

        50.       There is a justiciable controversy between Celgene and Hetero as to the

infringement of the ’648 patent.


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        51.       Unless enjoined by this Court, upon FDA approval of Hetero’s ANDA, Hetero

will infringe one or more claims of the ’648 patent under 35 U.S.C. § 271(a) by making, using,

offering to sell, selling, and/or importing Hetero’s ANDA Products in the United States.

        52.       Unless enjoined by this Court, upon FDA approval of Hetero’s ANDA, Hetero

will induce infringement of one or more claims of the ’648 patent under 35 U.S.C. § 271(b) by

making, using, offering to sell, selling, and/or importing Hetero’s ANDA Products in the United

States. On information and belief, upon FDA approval of Hetero’s ANDA, Hetero will

intentionally encourage acts of direct infringement with knowledge of the ’648 patent and

knowledge that its acts are encouraging infringement.

        53.       Unless enjoined by this Court, upon FDA approval of Hetero’s ANDA, Hetero

will contributorily infringe one or more claims of the ’648 patent under 35 U.S.C. § 271(c) by

making, using, offering to sell, selling, and/or importing Hetero’s ANDA Products in the United

States. On information and belief, Hetero has had and continues to have knowledge that

Hetero’s ANDA Products are especially adapted for a use that infringes one or more claims of

the ’648 patent and that there is no substantial non-infringing use for Hetero’s ANDA Products.

        54.       Celgene will be substantially and irreparably damaged and harmed if Hetero’s

infringement of the ’648 patent is not enjoined.

        55.       Celgene does not have an adequate remedy at law.

        56.       This case is an exceptional one, and Celgene is entitled to an award of its

reasonable attorneys’ fees under 35 U.S.C. § 285.

                           Count III: Infringement of the ’649 Patent

        57.       Celgene repeats and realleges the allegations of the preceding paragraphs as if

fully set forth herein.




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       58.       On information and belief, Hetero’s ANDA Products contain crystalline

pomalidomide as set forth in the claims of the ’649 patent.

       59.       Hetero, by the submission of its Paragraph IV Certification as part of its ANDA

to the FDA, has indicated that it seeks approval to engage in the commercial manufacture, use,

offer for sale, sale, or importation into the United States of Hetero’s ANDA Products, prior to the

expiration of the ’649 patent.

       60.       Hetero’s ANDA has been pending before the FDA since at least March 29,

2017, the date that Hetero sent Hetero’s First Notice Letter to Celgene.

       61.       Hetero’s submission of its ANDA to engage in the commercial manufacture,

use, offer for sale, sale, or importation into the United States of Hetero’s ANDA Products, prior

to the expiration of the ’649 patent, constitutes infringement of one or more of the claims of that

patent under 35 U.S.C. § 271(e)(2)(A).

       62.       There is a justiciable controversy between Celgene and Hetero as to the

infringement of the ’649 patent.

       63.       Unless enjoined by this Court, upon FDA approval of Hetero’s ANDA, Hetero

will infringe one or more claims of the ’649 patent under 35 U.S.C. § 271(a) by making, using,

offering to sell, selling, and/or importing Hetero’s ANDA Products in the United States.

       64.       Unless enjoined by this Court, upon FDA approval of Hetero’s ANDA, Hetero

will induce infringement of one or more claims of the ’649 patent under 35 U.S.C. § 271(b) by

making, using, offering to sell, selling, and/or importing Hetero’s ANDA Products in the United

States. On information and belief, upon FDA approval of Hetero’s ANDA, Hetero will

intentionally encourage acts of direct infringement with knowledge of the ’649 patent and

knowledge that its acts are encouraging infringement.




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        65.       Unless enjoined by this Court, upon FDA approval of Hetero’s ANDA, Hetero

will contributorily infringe one or more claims of the ’649 patent under 35 U.S.C. § 271(c) by

making, using, offering to sell, selling, and/or importing Hetero’s ANDA Products in the United

States. On information and belief, Hetero has had and continues to have knowledge that

Hetero’s ANDA Products are especially adapted for a use that infringes one or more claims of

the ’649 patent and that there is no substantial non-infringing use for Hetero’s ANDA Products.

        66.       Celgene will be substantially and irreparably damaged and harmed if Hetero’s

infringement of the ’649 patent is not enjoined.

        67.       Celgene does not have an adequate remedy at law.

        68.       This case is an exceptional one, and Celgene is entitled to an award of its

reasonable attorneys’ fees under 35 U.S.C. § 285.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Celgene respectfully requests the following relief:

        (A)     A Judgment that Defendants have infringed the patents-in-suit by submitting

ANDA No. 210236;

        (B)     A Judgment that Defendants have infringed, and that Defendants’ making, using,

offering to sell, selling, or importing Hetero’s ANDA Products will infringe one or more claims

of the patents-in-suit;

        (C)     An Order that the effective date of FDA approval of ANDA No. 210236 be a date

which is not earlier than the later of the expiration of the patents-in-suit, or any later expiration of

exclusivity to which Celgene is or becomes entitled;

        (D)     Preliminary and permanent injunctions enjoining Defendants and their officers,

agents, attorneys and employees, and those acting in privity or concert with them, from making,




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using, offering to sell, selling, or importing Hetero’s ANDA Products until after the expiration of

the patents-in-suit, or any later expiration of exclusivity to which Celgene is or becomes entitled;

        (E)     A permanent injunction, pursuant to 35 U.S.C. § 271(e)(4)(B), restraining and

enjoining Defendants, their officers, agents, attorneys and employees, and those acting in privity

or concert with them, from practicing any solid forms of pomalidomide, as claimed in the

patents-in-suit, or from actively inducing or contributing to the infringement of any claim of the

patents-in-suit, until after the expiration of the patents-in-suit, or any later expiration of

exclusivity to which Celgene is or becomes entitled;

        (F)     A Judgment that the commercial manufacture, use, offer for sale, sale, and/or

importation into the United States of Hetero’s ANDA Products will directly infringe, induce

and/or contribute to infringement of the patents-in-suit;

        (G)     To the extent that Defendants have committed any acts with respect to the solid

forms of pomalidomide claimed in the patents-in-suit, other than those acts expressly exempted

by 35 U.S.C. § 271(e)(1), a Judgment awarding Celgene damages for such acts;

        (H)     If Defendants engage in the commercial manufacture, use, offer for sale, sale,

and/or importation into the United States of Hetero’s ANDA Products prior to the expiration of

the patents-in-suit, a Judgment awarding damages to Celgene resulting from such infringement,

together with interest;

        (I)     A Judgment declaring that the patents-in-suit remain valid and enforceable;

        (J)     A Judgment that this is an exceptional case pursuant to 35 U.S.C. § 285 and

awarding Celgene its attorneys’ fees incurred in this action;

        (K)     A Judgment awarding Celgene its costs and expenses incurred in this action; and

        (L)     Such further and other relief as this Court may deem just and proper.




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Dated: February 14, 2019                     By: s/ Charles M. Lizza
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                CERTIFICATION PURSUANT TO L. CIV. R. 11.2 & 40.1

       Pursuant to Local Civil Rules 11.2 and 40.1, I hereby certify that the matter captioned

Celgene Corporation v. Hetero Labs Limited, et al., Civil Action No. 17-3387 (ES)(MAH)

(D.N.J.) is related to the matter in controversy because the matter in controversy involves the

same plaintiff and certain of the same defendants, and because defendants in the matters are

seeking FDA approval to market generic versions of the same pharmaceutical products.

       I further certify that the following matters, which will also be filed in the District of New

Jersey on February 14, 2019, are related to the matter in controversy because the matter in

controversy involves the same plaintiff, the same patents, and because defendants in the matters

are seeking FDA approval to market generic versions of the same pharmaceutical products:

           •   Celgene Corporation v. Breckenridge Pharmaceutical, Inc., et al.;

           •   Celgene Corporation v. Mylan Pharmaceuticals Inc., et al.;

           •   Celgene Corporation v. Apotex Inc.; and

           •   Celgene Corporation v. Aurobindo Pharma Limited, et al.

       I further certify that, to the best of my knowledge, the matter in controversy is not the

subject of any other action pending in any court, or of any pending arbitration or administrative

proceeding.




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